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                                No. 2019-1081


           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FEDERAL CIRCUIT


NATIONAL VETERANS LEGAL SERVICES PROGRAM, NATIONAL
 CONSUMER LAW CENTER, ALLIANCE FOR JUSTICE,

                                             Plaintiffs - Appellants,

                                       v.

                              UNITED STATES,

                                             Defendant - Cross-Appellant.


  On Appeal from the United States District Court for the District of Columbia
                  in case no. 16-745, Judge Ellen S. Huvelle


                    BRIEF FOR CROSS-APPELLANT


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                      STATEMENT OF RELATED CASES

      No other appeal in or from the present civil actions has previously been before

this Court or any other appellate court.
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                                  INTRODUCTION

      This Little Tucker Act suit is a nationwide class action for damages brought on

behalf of corporations, individuals, and organizations that retrieved federal court

records through the Public Access to Court Electronic Records (“PACER”) system

between 2010 and 2016. Plaintiffs allege that, for decades, the Judiciary has expended

PACER fee revenue for purposes not intended by Congress. They further allege that,

as a result, the fees that users paid to retrieve records through PACER were too high.

Relying on an “illegal exaction” theory, plaintiffs contend that class members are

entitled to a refund of allegedly excessive fees. Appx87 ¶¶ 33-34.

      The district court denied the government’s motion to dismiss the case for lack

of Little Tucker Act jurisdiction. On cross-motions for summary judgment, the court

declared that most, but not all, of the Judiciary’s expenditures of fee revenue were

permissible. On the government’s motion, the court certified the summary judgment

order for interlocutory appeal, recognizing that the jurisdictional issue may be raised

as well. Appx48 n.1.

      1. As a threshold matter, the summary judgment order should be vacated for

lack of Little Tucker Act jurisdiction. To establish jurisdiction under an illegal

exaction theory, it is not enough for a claimant to allege that money was “improperly

paid, exacted, or taken from the claimant in contravention of the Constitution, a

statute, or a regulation.” Norman v. United States, 429 F.3d 1081, 1095 (Fed. Cir. 2005).

“To invoke Tucker Act jurisdiction over an illegal exaction claim, a claimant must
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demonstrate that the statute or provision causing the exaction itself provides, either

expressly or by ‘necessary implication,’ that ‘the remedy for its violation entails a

return of money unlawfully exacted.’” Id. (quoting Cyprus Amax Coal Co. v. United

States, 205 F.3d 1369, 1373 (Fed. Cir. 2000)).

       Plaintiffs have never acknowledged the governing standard or attempted to

make the required showing. Congress authorized the Judicial Conference to set and

revise the schedule for PACER fees, and required the Judicial Conference to submit

each schedule to Congress before it takes effect. Congress also required the Judicial

Conference to submit its proposed expenditures of fee revenue to Congress in

connection with its annual appropriations for the Judiciary. Congress was aware that

no challenge to the fee schedule or expenditures could be asserted under the

Administrative Procedure Act (“APA”), which does not apply to the Judiciary. The

statutes governing fees and expenditures contain no suggestion—much less a

“necessary implication”—that Congress intended that fees and expenditures be

challenged in damages suits. Under the governing statutes, Congress itself, and not

the courts, reviews the propriety of fees and the expenditures of fee revenue.

       2. Assuming that the merits issues addressed in the summary judgment order

are properly before this Court, plaintiffs are wrong to assert that the Judiciary has for

decades engaged in impermissible expenditures of PACER fee revenue. The Judicial

Conference correctly determined that it could use PACER fee revenue for programs

such as the CM/ECF system, an electronic bankruptcy notification system, a web-
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based juror services system, and courtroom technology expenses, all of which provide

the public with access to information available through automatic data processing

equipment. These expenditures fall easily within the terms of governing statutes,

which authorize reimbursement of expenses incurred in providing these services and

expenditures for the procurement of information technology services for the

Judiciary. The Judicial Conference itemized its proposed uses of PACER fee revenue

in its annual budget requests to Congress, which informed the annual appropriations

legislation that Congress enacted for the Judiciary. Plaintiffs believe that Congress

should have appropriated taxpayer dollars to fund programs like CM/ECF, but

Congress has plenary control over appropriations and chose not to do so.

      3. The district court correctly rejected plaintiffs’ contention that a 2002

amendment to the Judiciary Appropriations Act, 1991, barred the Judiciary from using

PACER fee revenue for anything other than the marginal cost of operating PACER.

Had Congress meant to enact a sweeping and significant restriction of this kind, it

would have said so explicitly. Even the amicus brief of Senator Lieberman, who

sponsored the 2002 amendment, does not endorse plaintiffs’ view that the 2002

amendment was meant to halt the use of PACER fee revenue on CM/ECF. See

Amicus Br. 11 n.4. And the subsequent Congresses that considered the Judiciary’s

annual budget requests never imposed any such restriction in the annual

appropriations legislation that Congress enacted for the Judiciary.


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                       STATEMENT OF JURISDICTION

      Plaintiffs invoked the district court’s jurisdiction under the Little Tucker Act,

28 U.S.C. § 1346(a)(2). Jurisdiction was contested. The district court denied the

government’s motion to dismiss the complaint on December 5, 2016. The district

court issued a summary judgment order on March 31, 2018, and certified that order

for interlocutory appeal on August 13, 2018. Plaintiffs and the government filed

timely petitions for leave to appeal on August 22 and August 23, 2018, respectively.

This Court granted the petitions on October 16, 2018. This Court has appellate

jurisdiction under 28 U.S.C. § 1292(b).

                         STATEMENT OF THE ISSUES

      1. Whether the summary judgment order should be vacated for lack of Little

Tucker Act jurisdiction because no statute expressly or by necessary implication gives

PACER users a damages remedy for allegedly excessive PACER fees.

      2. Assuming the Court reaches the merits issue, whether the Judiciary’s

expenditures of PACER fee revenue were permissible.




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                           STATEMENT OF THE CASE

I.    Statutory Background
      A.     Statutes Authorizing the Judiciary to Set PACER Fees and
             Expend PACER Fee Revenue

      Plaintiffs challenge spending decisions made by the Judiciary through its policy-

making body, the Judicial Conference.1 The Chief Justice of the United States is the

presiding officer of the Judicial Conference.2 Its members include the chief judge of

each court of appeals, a district court judge from each circuit, and the chief judge of

the Court of International Trade.3 The Administrative Office is responsible for

carrying out Judicial Conference policies.4

      In 1988, the Judicial Conference authorized an experimental program of public

access to court electronic records. Appx2902-2903. The following year, the Judicial

Conference voted to recommend that Congress credit to the Judiciary’s

appropriations account any fees generated by providing public access to court

electronic records. Appx2905-2907. Congress granted the Judiciary that spending

authority when it enacted the Judiciary Appropriations Act, 1991. See Judiciary




      1
        See http://www.uscourts.gov/about-federal-courts/governance-judicial-
conference.
      2
        See http://www.uscourts.gov/about-federal-courts/governance-judicial-
conference/about-judicial-conference.
      3
        See id.
      4
        See http://www.uscourts.gov/about-federal-courts/judicial-administration.

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Appropriations Act, 1991, Pub. L. No. 101-515, tit. IV, § 404, 104 Stat. 2129, 2132-33

(1990) (“Section 404”). 5

       Subsection (a) of Section 404 authorized the Judicial Conference to prescribe

reasonable fees for “collection by the courts . . . for access to information available

through automatic data processing equipment.” That legislation made clear that these

fees would not apply uniformly to all users. Instead, “[t]hese fees may distinguish

between classes of persons, and shall provide for exempting persons or classes of

persons from the fees, in order to avoid unreasonable burdens and to promote public

access to such information.”

       Subsection (b) directed the Judicial Conference to provide the fee schedule to

Congress at least 30 days before the schedule becomes effective. It also provided that

all fees collected “shall be deposited as offsetting collections to the Judiciary

Automation Fund pursuant to 28 U.S.C. 612(c)(1)(A) to reimburse expenses incurred

in providing these services.”

       Congress subsequently replaced the Judiciary Automation Fund referenced in

Section 404(b) with the Judiciary Information Technology Fund (“the Judiciary IT

Fund” or “the Fund”). See Pub. L. No. 104-106, div. E, § 5602(b)(2), 110 Stat. 679,


       5
        Section 404—which was codified as one of several notes to 28 U.S.C.
§ 1913—was later renumbered as Section 303. See Judiciary Appropriations Act, 1992,
Pub. L. No. 102-140, tit. III, § 303, 105 Stat. 782, 810 (1991). For simplicity, we refer
to the provision as Section 404. The text of Section 404, as amended, is reproduced
in the addendum to this brief.

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699-700 (1996). The statute that governs the Judiciary IT Fund requires that all fees

collected under Section 404 be deposited in the Fund, see 28 U.S.C. § 612(c)(1)(A), and

makes moneys in the Fund available to the Director of the Administrative Office for

“the procurement . . . of information technology resources” for the federal court

system, id. § 612(a). The statute further specifies that the deposited funds need not be

expended within the fiscal year. Id.

      In 2002, as part of the E-Government Act, Congress amended the first

sentence of Section 404(a). The amendment replaced the word “shall” with “may,

only to the extent necessary.” Pub. L. No. 107-347, § 205(e), 116 Stat. 2899, 2915

(2002). As amended, the first sentence of Section 404(a) reads: “The Judicial

Conference may, only to the extent necessary, prescribe reasonable fees . . . for

collection by the courts . . . for access to information available through automatic data

processing equipment.” The amendment did not change the language of the statute

that governs expenditures from the Judiciary IT Fund.

      B.    Congressional Oversight of PACER Fee Schedules
            and the Judiciary’s Expenditures of PACER Fee Revenue

      Through an array of statutes, Congress has provided for regular congressional

oversight of PACER fee schedules and the Judiciary’s expenditures of PACER fee

revenue. Section 404, which authorizes the fees, directs the Judicial Conference to

transmit the schedule of PACER fees to Congress at least 30 days before the schedule

becomes effective. The statute that governs the Judiciary IT Fund requires the

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Director of the Administrative Office to report annually to Congress on the plan for

meeting the Judiciary’s IT needs, including an estimate of PACER fees to be

collected. See 28 U.S.C. § 612(b)(1). Annual appropriations acts for the Judiciary

require the Judiciary to submit to the House and Senate Appropriations Committees a

detailed spending plan for the Judiciary IT Fund. See, e.g., Judiciary Appropriations

Act, 2009, Pub. L. No. 111-8, div. D, tit. III, § 304, 123 Stat. 524, 648. And in the

annual budget requests that the Judiciary submits to Congress, the Judiciary sets out

(among many other spending requests) its proposed expenditures of PACER fee

revenue. See, e.g., The Judiciary: Fiscal Year 2020 Congressional Budget Justification,

Appendix 2.4 (table).6

II.    PACER Fee Revenue, Fee Waivers, and Expenditures
       The Judiciary’s July 2018 report to Congress, relied on by plaintiffs (Pl. Br. 21),

described trends in PACER revenue since the passage of the E-Government Act of

2002; sources of PACER revenue broken out by types of users; and how PACER

revenue is spent. See FY 2018 Judiciary Report Requirement on PACER (“July 2018

Report”). 7



       6
           In the Judiciary’s budget requests and other reports to Congress, the
programs funded by PACER fee revenue are collectively described as the Electronic
Public Access (“EPA”) program. The full text of the FY 2020 Congressional Budget
Justification is available at https://www.uscourts.gov/about-federal-courts/governance-
judicial-conference/congressional-budget-request, and the chapter on the EPA
program is available through that link.
         7
           https://perma.cc/CP8S-XRVQ
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       The report explained that PACER fee revenue has increased significantly since

the passage of the E-Government Act, from about $28 million in fiscal year 2003 to

about $146 million in fiscal year 2017. See July 2018 Report 1. This increase in

revenue was due to the increase in the number of PACER users—more than

2.5 million registered users in 2018—in combination with increases in the per-page

charge, which was set at $.07 per page in 1998, at $.08 per page in 2011, and at $.10

per page in 2012. See id. at 1, 3.

       The report emphasized that the lion’s share of PACER fee revenue comes

from a handful of users: “two percent of accounts generat[ed] approximately

87 percent of revenue collected in FY 2017.” July 2018 Report 2-3. The users

comprising this two percent segment are major commercial enterprises and large law

firms. Id. at 3. Such users collect massive amounts of data—often for aggregation

and resale. These users thus reap profits from their acquisition of PACER data. Id.;

see also Amicus Br. of Retired Federal Judges 21 (similarly noting that “[t]he vast

majority of PACER revenue (approximately eighty five percent) is attributable to less

than three percent of ‘power-users,’ which are, for the most part, financial institutions

or other major commercial enterprises that collect massive amounts of data for

aggregation and resale”) (citation omitted). Amici identify Westlaw, LexisNexis, and

Bloomberg Law as the three largest legal database companies. See Amicus Br. of

Next-Generation Legal Research Platforms and Databases 18.


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       In contrast to the “power users” that account for the lion’s share of PACER

fee revenue, most users obtain access to PACER for free. See July 2018 Report 3. In

a given year, approximately 350,000 of the 500,000 users who access PACER—or

70 percent—do so for free due to a fee waiver or exemption. Id. These fee waivers

and exemptions implement Section 404(a), which authorized the Judicial Conference

to distinguish among classes of persons in setting PACER fees and to exempt persons

or classes of persons from fees. The Judicial Conference has expanded the fee

waivers over time. For example, in 2001 the Judicial Conference provided that no fee

would be owed unless an account holder accrued charges totaling more than $10 in a

calendar year. See July 2018 Report 1. In 2010, the Judicial Conference effectively

quadrupled that waiver by providing that no fee would be owed unless the account

holder accrued charges of more than $10 in a quarterly billing cycle. See id. In 2012,

the Judicial Conference expanded that waiver yet again by raising the threshold to $15

in a quarterly billing cycle. See id. at 2.

       In addition to these fee waivers, the parties in a case (including pro se litigants)

and attorneys of record receive one free electronic copy of all documents filed

electronically. See Electronic Public Access Schedule (2013). 8 No fee is charged for

access to documents that the authoring judge designates as a judicial opinion. Id.




       8
           https://www.pacer.gov/documents/epa_feesched.pdf
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And no fee is charged for viewing case information or documents at courthouse

public access terminals. Id.

       Courts also have discretion to grant a fee exemption for various categories of

persons if an exemption is necessary in order to avoid unreasonable burdens and to

promote public access to information. See July 2018 Report 3. These categories

include persons who are indigent, bankruptcy case trustees, pro bono attorneys, pro

bono alternative dispute resolution neutrals, Section 501(c)(3) not-for-profit

organizations, and individual researchers associated with educational institutions. Id.

In fiscal year 2017 alone, nearly $24 million dollars were not collected due to

exemptions. Id.

       The July 2018 Report identified the amounts of PACER fee revenue spent on

particular programs during fiscal years 2013-2017. See id. at 3 (table providing dollar

amounts by category of expenditure). The report showed that PACER fee revenue is

spent on technology programs that include CM/ECF, courtroom technology,

electronic bankruptcy noticing, web-based juror services, and a Violent Crime Control

Act notification for law enforcement. See id. The Judiciary likewise identifies its

proposed expenditures of PACER fee revenue in the annual budget justifications that

it submits to Congress, in anticipation of appropriations legislation. See, e.g.,

Appx2017, Appx2348-2351 (setting out proposed expenditures of PACER fee

revenue, by category, for fiscal year 2011); Appx1694, Appx2011-2014 (same for fiscal

year 2012); Appx1382, Appx1686-1690 (same for fiscal year 2013).
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III.   District Court Proceedings
       A. The Class Action Complaint

       The plaintiff class includes corporations, individuals, and entities that paid to

obtain records through PACER. Plaintiffs invoked the district court’s jurisdiction

under the Little Tucker Act, 28 U.S.C. § 1346(a)(2), which gives the district courts

jurisdiction, concurrent with the Court of Federal Claims, over a civil action against

the United States not exceeding $10,000 in amount that is founded on a federal

statute.

       The single-count complaint relied on an “illegal exaction” theory, alleging that

PACER users are entitled to a refund of fees that the Judiciary is alleged to have

illegally exacted from them. Appx87 ¶¶ 33-34. To bring the “power users” of

PACER under the $10,000 limit and within the ambit of the class, plaintiffs alleged

that each download for which a charge is paid gives rise to a separate illegal exaction

claim. Appx87 ¶ 34; see also Appx98 (motion for class certification) (urging that “a

single plaintiff seeking millions of dollars may bring suit in federal district court under

the Little Tucker Act if the total amount sought represents the accumulation of many

separate transactions”).

       The complaint alleged that since the 1990s, the Judiciary has been using

PACER fee revenue for purposes not intended by Congress, and that as a result the

cost of each download was higher than it should have been. Plaintiffs alleged that

when Congress first authorized the Judiciary to charge PACER fees in the Judiciary
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Appropriations Act, 1991, it intended to limit fee revenue to the cost of providing

access to the records. Appx78 ¶ 8. Plaintiffs alleged that the Judiciary disregarded

that limitation when it began using PACER fee revenue to support the CM/ECF

program in the late 1990s, and they urged that, in 2002, Congress amended the

Judiciary Appropriations Act, 1991, in order to halt the spending on CM/ECF and

confine fee revenue to the marginal cost of disseminating information through

PACER. Appx78 ¶ 8, Appx79 ¶ 12. Plaintiffs alleged that the Judiciary has been

exceeding its spending authority ever since that time, by continuing to use PACER fee

revenue for CM/ECF and certain other technology programs. See, e.g., Appx80 ¶ 13,

Appx83 ¶ 21.

      B.     The Orders Denying the Government’s Motion to Dismiss and
             Certifying a Class

      At an early stage of the litigation, the government moved to dismiss the

complaint, arguing (as relevant here) that there is no Little Tucker Act jurisdiction

because no statute expressly or by necessary implication gives PACER users a

monetary remedy for allegedly excessive fees. Appx292-296; Appx399-400. The

government explained that the only remedy available to PACER users is an

administrative remedy for billing errors submitted to the PACER Service Center,

which does not allow the monetary relief plaintiffs seek. See Appx293-296.

      The district court denied the motion to dismiss. Appx428. The court

recognized that to proceed on an illegal exaction theory, the substantive statute must

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provide “either expressly or by ‘necessary implication,’ that ‘the remedy for its

violation entails a return of money unlawfully exacted.’” Appx433 (quoting Norman v.

United States, 429 F.3d 1081, 1095 (Fed. Cir. 2005) (quoting Cyprus Amax Coal Co. v.

United States, 205 F.3d 1369, 1373 (Fed. Cir. 2000))). But although the opinion recited

the governing standard, it did not purport to identify a statute that expressly or by

necessary implication gives PACER users a monetary remedy for allegedly excessive

fees.

        Subsequently, over the government’s objection, the district court certified a

Rule 23(b)(3) opt-out class of all individuals and entities that paid fees for the use of

PACER between April 21, 2010 and April 21, 2016, which was the period covered by

the general statute of limitations for claims against the United States. Appx2354. The

class excludes class counsel and agencies of the federal government. Id.

        C.    The Summary Judgment Order

        After a period of discovery, the district court addressed the permissibility of

various expenditures of PACER fee revenue that the Judiciary had identified in its

annual budget requests to Congress. On cross-motions for summary judgment, the

court denied plaintiffs’ motion in its entirety, and granted the government’s motion in

part and denied it in part. Appx1.

        The district court rejected plaintiffs’ contention that the 2002 amendment to

Section 404 of the Judiciary Appropriations Act, 1991, barred the Judiciary from using

PACER fee revenue for anything other than the marginal cost of operating PACER.
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See Appx25. The court explained that at the time the 2002 amendment was enacted,

“PACER fees were already being used to pay for non-PACER costs, such as

[electronic bankruptcy noticing] and CM/ECF, and there is nothing in the statute’s

text or legislative history to suggest that Congress intended to disallow the use of

PACER fees for those services.” Appx28 (citation omitted).

      The district court recognized that the amended text of Section 404 can

reasonably be interpreted to allow PACER fee revenue to be used for “any service

that provides ‘access to information available through automatic data processing

equipment.’” Appx26. The court did not dispute that the challenged expenditures fit

that description. Nor did the court dispute that the statute that governs the Judiciary

IT Fund requires that all fees collected under Section 404 be deposited in the Fund,

see 28 U.S.C. § 612(c)(1)(A), and makes moneys in the Fund broadly available to the

Director of the Administrative Office for the procurement of information technology

resources for the federal court system, id. § 612(a). See Appx30. Nonetheless, the

court imposed an additional limitation on the permissible uses of PACER fee

revenue. The court declared that such revenue may be used only to “provid[e] the

public with access to electronic information maintained and stored by the federal

courts on its CM/ECF docketing system.” Appx39. The court indicated that it

derived this limitation from an amalgam of sources, including “Congress’

endorsement of the expenditures being made in 2002, in conjunction with the


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statutory language”; “the evolution of the E-Government Act”; and “the judiciary’s

practices as of the date of the Act’s passage.” Id.

       On that basis, the district court declared that the Judiciary had exceeded its

spending authority by using PACER fee revenue for four categories of expenditures:

(1) a study—which the Judicial Conference undertook at the direction of the Senate

Appropriations Committee to explore the feasibility of sharing CM/ECF technology

with state governments, see Appx3150, Appx3153-3154—that allowed the State of

Mississippi to provide the public with electronic access to its documents, see Appx40-

41; (2) a Violent Crime Control Act system that notifies law enforcement of changes

to the case history of offenders under supervision, see Appx41; (3) a web-based system

that provides prospective jurors with electronic copies of court documents regarding

jury service, see Appx41; and (4) courtroom technology expenditures that improved

the Judiciary’s ability to share case evidence electronically, see Appx42.

       The district court did not attempt to translate this summary judgment ruling

into damages awards for particular PACER users. Instead, with the support of both

parties, the court certified the summary judgment order for interlocutory appeal,

emphasizing that “a potentially lengthy and complicated damages phase” will be

avoided if this Court rules in the government’s favor. Appx52. Although the district

court declined to certify its earlier order denying the government’s motion to dismiss,

the court recognized that the government is free to raise the jurisdictional issue at any

time. Appx48 n.1.
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                            SUMMARY OF ARGUMENT

       Plaintiffs contend that each PACER download in the six-year period covered

by this suit gave rise to an illegal exaction claim. They argue that the decision of the

Judicial Conference to use PACER fee revenue for certain information technology

programs fell outside the scope of the authorizing statutes, and they posit that if these

expenditures had not been made, the Judicial Conference would have reduced

PACER fees in the aggregate by an equivalent amount.

       1. Plaintiffs have not established a basis for jurisdiction under the Little Tucker

Act. It is axiomatic that “[t]o invoke Tucker Act jurisdiction over an illegal exaction

claim, a claimant must demonstrate that the statute or provision causing the exaction

itself provides, either expressly or by ‘necessary implication,’ that ‘the remedy for its

violation entails a return of money unlawfully exacted.’” Norman v. United States, 429

F.3d 1081, 1095 (Fed. Cir. 2005). The statutes that govern PACER fees and the

expenditure of fee revenue provide no basis for any inference—much less a necessary

inference—that Congress intended to permit claims for illegal exaction. Congress

vested authority to collect and expend fees in the Judicial Conference, aware that its

actions are not subject to judicial review under the Administrative Procedure Act.

There is no basis whatsoever to infer that Congress nevertheless meant to permit

retrospective judicial review in the form of damages actions. Congress had no reason

to permit such suits, because Congress itself considers the Judiciary’s expenditures of

fee revenue annually in reviewing its appropriations requests.
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       2. If the Court reaches the merits of the summary judgment ruling, the Court

should uphold the Judiciary’s expenditures. Section 404(a) authorizes the Judiciary to

prescribe reasonable fees, to the extent necessary, “for access to information available

through automatic data processing equipment.” The district court correctly

recognized that this language is reasonably interpreted to allow fees to be used to

support any service that provides access to information available through automatic

data processing equipment, Appx26, as is the case for all of the expenditures at issue

here. That conclusion is reinforced by the statute that governs the Judiciary IT Fund,

which requires that all fees collected under Section 404(a) be deposited in the Fund

and which makes moneys in the Fund available for the procurement of information

technology resources for the Judiciary. If there were any doubt as to the scope of the

Judiciary’s expenditure authority, it is removed by the decades in which Congress has

reviewed the Judiciary’s annual appropriations requests and enacted appropriations

legislation for the Judiciary.

       3. The district court correctly rejected plaintiffs’ contention that a 2002

amendment to Section 404 impliedly precluded the Judiciary’s spending on CM/ECF.

If Congress had meant to impose such a significant restriction it would have said so

explicitly. Even the amicus brief of Senator Lieberman, the E-Government Act’s

sponsor, does not embrace plaintiffs’ contention.




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                              STANDARD OF REVIEW

      This Court reviews de novo the district court’s conclusions of law, including

questions involving jurisdiction. See Norman v. United States, 429 F.3d 1081, 1087 (Fed.

Cir. 2005).

                                     ARGUMENT

I.    The Summary Judgment Order Should Be Vacated For Lack of
      Little Tucker Act Jurisdiction.
      A.       To Establish Jurisdiction, Plaintiffs Were Required to Identify a
               Statute that Expressly or by Necessary Implication Gives PACER
               Users a Damages Remedy.

      Plaintiffs invoked the district court’s jurisdiction under the Little Tucker Act,

28 U.S.C. § 1346(a)(2), which gives the district courts jurisdiction, concurrent with the

Court of Federal Claims, over a civil action against the United States not exceeding

$10,000 in amount that is founded on a federal statute. Appx87 ¶ 33 (complaint).

The Little Tucker Act and its companion statute, the Tucker Act, “do not themselves

creat[e] substantive rights, but are simply jurisdictional provisions that operate to

waive sovereign immunity for claims premised on other sources of law.” United States

v. Bormes, 568 U.S. 6, 10 (2012) (quotation marks omitted). Therefore, the claimant

must identify another source of law that “confer[s] a substantive right to recover

money damages from the United States.” United States v. Testan, 424 U.S. 392, 398

(1976). That other source of law, “whether it be the Constitution, a statute, or a

regulation,” is what “create[s] a cause of action for money damages.” Id. at 401-02.


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Without a cause of action for damages, there is no Little Tucker Act jurisdiction. See

Doe v. United States, 372 F.3d 1308, 1313 (Fed. Cir. 2004) (explaining that “a district

court, when exercising jurisdiction under the Little Tucker Act, in effect sits as the

Court of Federal Claims, which does not have general equitable powers”).

       It is the claimant’s burden to establish Little Tucker Act jurisdiction. See Bobula

v. U.S. Dep’t of Justice, 970 F.2d 854, 858 (Fed. Cir. 1992). To meet this burden,

plaintiffs here relied on an “illegal exaction” theory. See Appx77 ¶ 5, Appx87 ¶¶ 33-

34. To demonstrate an illegal exaction, a plaintiff must show that money has been

“improperly paid, exacted, or taken from the claimant in contravention of the

Constitution, a statute, or a regulation.” Norman v. United States, 429 F.3d 1081, 1095

(Fed. Cir. 2005). Demonstrating that money was improperly paid, exacted or taken is

necessary but not sufficient to establish an illegal exaction. “To invoke Tucker Act

jurisdiction over an illegal exaction claim, a claimant must demonstrate that the statute

or provision causing the exaction itself provides, either expressly or by ‘necessary

implication,’ that ‘the remedy for its violation entails a return of money unlawfully

exacted.’” Id. (quoting Cyprus Amax Coal Co. v. United States, 205 F.3d 1369, 1373

(Fed. Cir. 2000)). In Cyprus Amax, for example, this Court concluded that “the

Tucker Act provided jurisdiction over an illegal exaction claim based upon the Export

Clause of the Constitution because the language of that clause ‘leads to the ineluctable

conclusion that the clause provides a cause of action with a monetary remedy.’”

Norman, 429 F.3d at 1095 (quoting Cyprus Amax, 205 F.3d at 1373).
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       Although plaintiffs bore the burden of establishing jurisdiction, they have never

attempted to make this showing. Instead, they observe that an illegal exaction claim

may proceed “regardless of whether the statute itself creates an express cause of

action” for damages. Pl. Br. 18 (emphasis added). Plaintiffs never acknowledge,

however, that this Court’s precedent requires them to show that the substantive

statute provides a damages cause of action by “necessary implication.” Norman, 429

F.3d at 1095. Plaintiffs likewise omitted that jurisdictional requirement from their

district court filings. See, e.g., Appx87 ¶ 33 (complaint). Plaintiffs may prefer to

disregard the fundamental elements of an illegal exaction claim, but they cannot

proceed without making the showing required by this Court’s precedents.9




       9
          Plaintiffs’ brief incorrectly suggests that the government did not rely on
Norman’s jurisdictional standard below. Pl. Br. 19. The district court would have
been required to assure itself of Little Tucker Act jurisdiction even if the issue had not
been raised. But in fact, the government’s motion to dismiss argued that “Plaintiffs
Have Not Alleged A Statutory Remedy That Supports An Illegal Exaction Claim,”
Appx292, and quoted the same language from Norman that we rely upon here,
Appx293. The government’s motion explained that the only remedy for PACER
users is an administrative remedy for billing errors that did not provide a basis for
their illegal exaction claims. Appx293-296. Plaintiffs agreed in their opposition brief
that the administrative remedy for billing errors was inapplicable, Appx326-327, but
they did not attempt to identify a statute that authorized the damages they seek,
Appx326-328. Thus, in reply, the government urged that plaintiffs had waived that
argument. Appx399-400; Appx400. The district court’s opinion did not address the
waiver issue.
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      B.     No Statute Expressly or by Necessary Implication Gives
             PACER Users a Damages Remedy for Allegedly Excessive
             Fees.
      No statute expressly or by necessary implication gives PACER users a damages

remedy for allegedly excessive fees. Congress vested in the Judicial Conference

responsibility for setting fees and expending fee revenue. In doing so, Congress

would have been aware that these determinations could not be challenged in district

court under the APA, which does not apply to the Judiciary. Washington Legal Found. v.

U.S. Sentencing Comm’n, 17 F.3d 1446, 1449 (D.C. Cir. 1994); see 5 U.S.C. § 551(1)(B).

      Nothing in the statutory scheme suggests that Congress nevertheless intended

to make the decisions of the Judicial Conference subject to judicial review by means

of an implied damages remedy. Instead, Congress required that the Judiciary apprise

it of PACER fees before any fee schedule takes effect, and apprise it of proposed

expenditures of fee revenue in its annual reports and budget requests. These statutes

thus allow Congress itself to exercise such oversight as it deems necessary, in

particular via the annual appropriations process. In this way Congress also avoided

the appearance of a conflict of interest that would be created by requiring individual

judges to second-guess the spending decisions made by the Judicial Conference on

behalf of the Judiciary as a whole.10


      10
         The trial judge recognized the apparent conflict created by a suit of this kind
but concluded it should proceed under the “rule of necessity” because every judge
would face the same conflict. Appx2377. Congress, however, did not put any judge
in the position of adjudicating claims of this kind.
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       Because Congress reserved to itself the responsibility to oversee PACER fee

schedules and the expenditure of fee revenue, Congress did not provide any

mechanism by which a court could identify the “correct” fee for a particular

download by a particular user. The premise of this suit is that each download from

PACER gives rise to a separate illegal exaction claim. Appx87 ¶ 34; Appx99. For

such a claim to be a cognizable, the statute would have to establish a specific fee for

each download. See, e.g., A.H. Bull S.S. Co. v. United States, 108 F. Supp. 95, 97 (Ct. Cl.

1952) (allowing an illegal exaction claim to proceed because the substantive statute

“was intended to fix, by a self-operating statutory formula, the selling price of the

Government’s surplus ships,” such that “the determination of the price was a mere

mathematical calculation”).

       Instead, Congress explicitly contemplated that fees for downloads would vary

from user to user, so there is no “correct” fee that could form the basis of an illegal

exaction claim. Section 404(a) made clear that the fees would not apply uniformly to

all users, expressly providing that “[t]hese fees may distinguish between classes of

persons, and shall provide for exempting persons or classes of persons from the fees,

in order to avoid unreasonable burdens and to promote public access to such

information.” And as described above, the Judiciary Conference exercises that

authority through an array of fee waivers and exemptions that have evolved over time.

See supra, pp. 10-11.


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      The series of speculations underlying plaintiffs’ claims does nothing to enhance

the plausibility of implying a cause of action for damages. First, there is no apparent

basis for plaintiffs’ assumption that if the Judiciary had not made the challenged

expenditures, it would have reduced PACER fees by the amount saved. The Judiciary

could have decided to leave the fee schedule in place and use the same fee revenue to

accelerate its enhancements of PACER and the CM/ECF system. See, e.g., Appx2349-

2350 (budget request for fiscal year 2011, describing the Judiciary’s plans for

enhancing PACER and developing the Next Generation of CM/ECF over a five-year

period); July 2018 Report 4 (describing the Judiciary’s recent and ongoing initiatives to

improve PACER technology). Indeed, to facilitate such long-term projects, Congress

provided that fee revenue need not be expended within a particular fiscal year, and

thus allowed the Judiciary to carry forward surpluses of fee revenue. See 28 U.S.C.

§ 612(a) (making moneys deposited in the Judiciary IT Fund available “without fiscal

year limitation”); see, e.g., Appx3096 (carrying forward surpluses of fee revenue for

fiscal years 2008 and 2009); Appx3098 (same for fiscal years 2011 and 2012).

      Moreover, even assuming that the Judiciary had decided to collect a lower

aggregate amount of fee revenue, it is entirely unclear how that decision would have

affected any particular user. The Judicial Conference has broad discretion in

allocating fees among different types of users, and it could have adopted many

different means to achieve Section 404’s goal of avoiding unreasonable burdens and

promoting public access. The class members vary widely in their circumstances. At
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one extreme is the handful of “power users” that account for 87 percent of PACER

fee revenue. July 2018 Report 2-3. These commercial institutions collect massive

amounts of data—often for aggregation and resale—which means they profit from

their acquisition of PACER data. Id. at 3; see Amicus Br. of Next-Generation Legal

Research Platforms and Databases 18 (identifying Westlaw, LexisNexis, and

Bloomberg Law as the three largest legal database companies). At the other extreme

are individuals or entities that may have only a small amount of PACER use during

the six-year period at issue in this case. The class would include, for instance, an

individual who paid only a single $16 bill over the entire six-year period. Even the

named plaintiff Alliance for Justice—which has annual revenues of more than four

million dollars—paid only $391.40 in fees over that six-year period. Appx449

(declaration of the Alliance for Justice Legal Director).

      If the Judicial Conference had decided to collect a lower total amount of fee

revenue, it might have directed those savings to infrequent users rather than to the

“power users” that profit handsomely in marketing their PACER downloads. For

example, the Judicial Conference might have raised the threshold dollar charge that

must be incurred before a user is billed (which was set at $10 per quarter in 2010 and

raised to $15 per quarter in 2012). It might have increased the number of free

downloads by, for instance, giving the parties in a case and attorneys of record

unlimited free copies (rather than one free copy) of all documents filed electronically.

It might have expanded the categories of persons and entities eligible to obtain
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discretionary exemptions from the courts. And it might have employed any of these

approaches in combination.

      In sum, Congress insulated the Judiciary from review under the APA, and

Congress itself undertook the role of overseeing the collection and expenditure of

PACER fees as part of the appropriations process. In vesting authority in the Judicial

Conference to establish a fee schedule, Congress also gave the Judicial Conference

authority to establish varying rates for different users, thus ensuring that there would

never be a “correct” fee for any particular download. Nothing in this structure

remotely suggests that Congress intended to create a cause of action for damages.

Accordingly, there is no basis to award damages to any user, and the summary

judgment order should be vacated for lack of Little Tucker Act jurisdiction.

II.   The Judiciary’s Expenditures Of PACER Fee Revenue Were
      Permissible.

      A.     The Expenditures Were Authorized by the Governing
             Statutes and Approved in Annual Appropriations Acts.
      If the Court reaches the merits of the summary judgment order, it should hold

that the Judiciary’s expenditures of PACER fee revenue were permissible. The

challenged expenditures were authorized by the governing statutes and approved in

annual appropriations acts for the Judiciary.

      Section 404(a) authorizes the Judiciary to prescribe reasonable fees, to the

extent necessary, “for access to information available through automatic data

processing equipment.” The district court correctly recognized that this language can
                                           26
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reasonably be interpreted to allow fees to be used to support “any service that

provides ‘access to information available through automatic data processing

equipment.’” Appx26. That conclusion is reinforced by the statute that governs the

Judiciary IT Fund, which requires that all fees collected under Section 404(a) be

deposited in the Fund and makes moneys in the Fund available for the procurement

of information technology resources for the Judiciary.

      There is no dispute that all of the expenditures at issue here were for services

that provide “access to information available through automatic data processing

equipment.” Appx26. For example, under the Violent Crime Control Act

notification system, local law enforcement officers receive electronic notification of

court documents that were previously sent to them through the mail, which notify

them of changes to the case history of offenders under supervision. See Appx20.

Thus, that system provides local law enforcement officers with “access to information

available through [automatic] data processing equipment.” Appx26. Likewise, the

web-based juror services system provides prospective jurors with electronic copies of

court documents regarding jury service. See Appx20. The State of Mississippi

study—which the Judicial Conference undertook at the express direction of the

Senate Appropriations Committee to explore the feasibility of sharing CM/ECF

technology with state governments, see Appx3150, Appx3153-3154—allowed the State

to provide the public with electronic access to its documents. See Appx20. And the

courtroom technology expenditures improved “the Judiciary’s ability to share case
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evidence with the public in the courtroom during proceedings and to share case

evidence electronically through electronic public access services when it is presented

electronically and becomes and electronic court record.” Appx15-16 (quotation

marks and citation omitted).

         If there were any doubt as to the propriety of the Judiciary’s expenditures, it is

removed by decades of annual appropriations legislation. Congress is not a passive

observer to the expenditure of funds. It reviews the expenditures annually in

considering the Judiciary’s appropriations requests. Plaintiffs’ submissions in the

court below include annual budget requests that the Judiciary submitted to Congress,

in which the Judicial Conference set out its proposed uses of PACER fee revenue by

category and amount. See, e.g., Appx2017, Appx2348-2351 (excerpt from the

Judiciary’s budget request for fiscal year 2011); Appx1694, Appx2011-2014 (excerpt

from the Judiciary’s budget request for fiscal year 2012); Appx1382, Appx1686-1690

(excerpt from the Judiciary’s budget request for fiscal year 2013); Appx1069,

Appx1371-1375 (excerpt from the Judiciary’s budget request for fiscal year 2014);

Appx455, Appx809-813 (excerpt from the Judiciary’s budget request for fiscal year

2016).

         Those budget requests specifically enumerated the expenditures of PACER fee

revenue that are at issue in this case. For example, the Judiciary’s budget request for

fiscal year 2011 apprised Congress of the intended amounts of PACER fee revenue

that the Judiciary proposed to spend on CM/ECF, courtroom technology, electronic
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bankruptcy noticing, the State of Mississippi CM/ECF feasibility study, web-based

juror services, and the Violent Crime Control Act notification for law enforcement.

See Appx2531; see also, e.g., Appx2014 (same for fiscal year 2012).

       Congress, of course, was free to reject or amend the Judiciary’s budget

requests. It could have precluded spending for these items altogether. Or, if it

believed that these items were not properly funded from PACER fee revenue, it could

have chosen to appropriate taxpayer dollars for any or all of these programs. But

Congress did not do so, and, in enacting the annual appropriations legislation,

Congress thus approved the Judiciary’s proposed uses of PACER fee revenue.

       Plaintiffs believe that Congress instead should have used “direct

appropriations” (i.e., taxpayer dollars) to finance “worthwhile” programs like

CM/ECF, courtroom technology, and web-based juror services, Pl. Br. 44-45, rather

than finance them with revenue that is obtained in large part from the “power users”

that profit by the resale of PACER data. But the decision how to finance government

programs is a quintessential legislative judgment. To the extent that plaintiffs and

amici believe that “[t]he best policy is to make PACER free,” Amicus Br. of Retired

Federal Judges 4, they should direct their policy arguments to Congress rather than

the courts.

       Senator Lieberman, who sponsored the E-Government Act of 2002,

recognized as much in the 2010 letter on which plaintiffs heavily rely. See, e.g., Pl.

Br. 2, 14, 16, 44, 45 (quoting Appx2622). Senator Lieberman directed that letter to
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the Chairman and Ranking Member of the Subcommittee on Financial Services and

General Government, Senate Committee on Appropriations. Appx2620. The letter

urged that “[t]he Appropriations Committee should review the Judiciary Information

Technology Fund Report provided each year to ensure the funds generated from

PACER are only going to pay for the direct costs of disseminating documents via

PACER,” and “not for additional items which I believe should be funded through

direct appropriations.” Appx2622 (emphasis added). Senator Lieberman disagreed

with some of the purposes for which PACER fees have been expended. The relevant

point, however, is that he correctly recognized that the question of how to finance

these important programs is a policy decision for Congress to make in the context of

annual appropriations legislation.

       The district court’s belief that “an appropriations Act passed by Congress

cannot alter the meaning of [a] statute,” Appx34 n.23, is incorrect. An appropriations

act is legislation, duly passed by Congress and presented to the President, and it is well

established that appropriations legislation can alter the meaning of a statute. See, e.g.,

Belknap v. United States, 150 U.S. 588, 592-95 (1893) (holding that annual

appropriations acts worked a “legislative readjustment of salaries” by appropriating

less than the full salaries set by substantive legislation).11 Here, however, there was no




       11
         Indeed, Section 404 itself was enacted as part of appropriations legislation
(the Judiciary Appropriations Act, 1991).
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need for Congress to alter the meaning of prior legislation, because its annual

appropriations acts for the Judiciary were consistent with that legislation.

      B.     Plaintiffs’ Remaining Arguments Are Meritless
      Plaintiffs’ basic narrative is simple but wrong. They contend that when

Congress first authorized the Judiciary to charge PACER fees in the Judiciary

Appropriations Act, 1991, Congress intended to limit fee revenue to the cost of

providing access to the records. Appx78 ¶ 8 (complaint). They contend that the

Judiciary disregarded that limitation when it began using PACER fee revenue to

support the CM/ECF program in the late 1990s. Appx78-79 ¶¶ 8-10. And they

contend that, in direct response to that spending, Senator Lieberman proposed the

2002 amendment to Section 404(a) in order to halt the Judiciary’s use of PACER fee

revenue for the CM/ECF system. Appx78 ¶ 8; Appx79 ¶ 12.

      The district court correctly rejected this account of the legislation, and even

Senator Lieberman, the E-Government Act’s sponsor, does not embrace plaintiffs’

contention that he proposed the 2002 amendment to Section 404 with the intent to

halt the Judiciary’s spending on CM/ECF. Senator Lieberman’s amicus brief takes

“no position” on whether “PACER and CM/ECF are so inextricably connected that

PACER fees may permissibly be used to support the costs of CM/ECF and

Electronic Bankruptcy Noticing.” Amicus Br. of Sen. Lieberman 11 n.4. In other

words, the drafter of the 2002 amendment had no specific intent to halt the Judiciary’s

spending on CM/ECF or the electronic bankruptcy noticing system.
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       There is no reason to conclude that Congress intended to starve these vital

programs of funding. The 2002 amendment simply amended a phrase in

Section 404(a), which had provided that “[t]he Judicial Conference shall prescribe

reasonable fees,” to read “[t]he Judicial Conference may, only to the extent necessary,

prescribe reasonable fees[.]” That language did not disapprove any existing

expenditures and established no specific constraint on expenditures. Congress does

not “hide elephants in mouseholes.” Knowles Elecs. LLC v. Iancu, 886 F.3d 1369, 1379

(Fed. Cir. 2018). There is “nothing in the statute’s text or legislative history to suggest

that Congress intended to disallow the use of PACER fees for those services,”

Appx28, or for future new services or enhancements. And, of course, Congress has

reviewed the Judiciary’s use of fees in considering its annual budget requests and has

never restricted the challenged uses.

       Plaintiffs’ reliance on Skinner v. Mid-America Pipeline Co., 490 U.S. 212, 224

(1989), is wholly misplaced. They cite that case for the proposition that “a user fee

may not exceed the cost of providing services ‘inuring directly to the benefit’ of the

person who pays the user fee, unless Congress has ‘indicate[d] clearly its intention to

delegate’ its taxing power.” Pl. Br. 3.

       Skinner concerned charges assessed on pipeline facilities regulated under the

Hazardous Liquid Pipeline Safety Act of 1979 and the Natural Gas Pipeline Safety Act

of 1968. The Supreme Court upheld the charges. In contrast to the entities in

Skinner, PACER users are not regulated entities made subject to the government’s
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coercive taxing power. Moreover, the text of Section 404(a) refutes plaintiffs’

assertion that a PACER user cannot be charged more than the cost of services inuring

directly to that user’s benefit. As discussed above, Section 404(a) explicitly authorizes

the Judiciary to distinguish among users in setting fees in order to promote public

access to information. Congress thus made clear that the fee charged to any particular

user may exceed the cost of providing PACER access for that user, and that the

Judiciary was also free to set reduced charges or no charges at all for other users.

Thus, even assuming that in the aggregate PACER fees did no more than cover the

cost of providing services, some users would pay more than the cost of providing

access. Pursuant to clear statutory authority, the Judiciary has, through the fee waivers

and exemptions, consistently allowed hundreds of thousands of users to access

PACER for free, with “power users” and large law firms subsidizing the free access

enjoyed by most PACER users.12




      12
          Although the propriety of the class certification order is not before the Court
at this juncture, we note that the government opposed certification of a nationwide
class because the interests of “power users” and other large commercial users diverge
from the interests of the small users whose PACER access they subsidize. Appx310-
315.
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                                   CONCLUSION

      The summary judgment order should be vacated for lack of Little Tucker Act

jurisdiction. Alternatively, if the Court reaches the merits of the issue decided in the

summary judgment order, the Court should hold that the Judiciary’s expenditures of

PACER fee revenue were permissible.

                                                Respectfully submitted,

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April 2019




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                           CERTIFICATE OF SERVICE

      I hereby certify that on April 18, 2019, I electronically filed the foregoing brief

with the Clerk of the Court for the United States Court of Appeals for the Federal

Circuit by using the appellate CM/ECF system. Participants in the case are registered

CM/ECF users, and service will be accomplished by the appellate CM/ECF system.



                                                 s/ Alisa B. Klein
                                                Alisa B. Klein
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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 28.1(e)(2)(B) because it contains 8004 words. This brief also complies with

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                                                 s/ Alisa B. Klein
                                                Alisa B. Klein
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Section 404 of the Judiciary Appropriations Act, 1991, as amended by
      Pub. L. No. 107-347, § 205(e), 116 Stat. 2899, 2915 (2002),
                 codified as a note to 28 U.S.C. § 1913


(a) The Judicial Conference may, only to the extent necessary, prescribe
reasonable fees, pursuant to sections 1913, 1914, 1926, and 1930 of title 28,
United States Code, for collection by the courts under those sections for access
to information available through automatic data processing equipment. These
fees may distinguish between classes of persons, and shall provide for
exempting persons or classes of persons from the fees, in order to avoid
unreasonable burdens and to promote public access to such information. The
Director [of the Administrative Office], under the direction of the Judicial
Conference of the United States, shall prescribe a schedule of reasonable fees
for electronic access to information which the Director is required to maintain
and make available to the public.

(b) The Judicial Conference and the Director shall transmit each schedule of
fees prescribed under paragraph (a) to the Congress at least 30 days before the
schedule becomes effective. All fees hereafter collected by the Judiciary under
paragraph (a) as a charge for services rendered shall be deposited as offsetting
collections to the Judiciary Automation Fund pursuant to 28 U.S.C.
612(c)(1)(A) to reimburse expenses incurred in providing these services.




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           28 U.S.C. § 612. Judiciary Information Technology Fund

(a) Establishment and availability of Fund.--There is hereby established in the
    Treasury of the United States a special fund to be known as the “Judiciary
    Information Technology Fund” (hereafter in this section referred to as the
    “Fund”). Moneys in the Fund shall be available to the Director without fiscal
    year limitation for the procurement (by lease, purchase, exchange, transfer, or
    otherwise) of information technology resources for program activities included
    in the courts of appeals, district courts, and other judicial services account of
    the judicial branch of the United States. The Fund shall also be available for
    expenses, including personal services, support personnel in the courts and in
    the Administrative Office of the United States Courts, and other costs, for the
    effective management, coordination, operation, and use of information
    technology resources purchased by the Fund. In addition, all agencies of the
    judiciary may make deposits into the Fund to meet their information
    technology needs in accordance with subsections (b) and (c)(2).

 (b) Plan for meeting information technology needs.--
   (1) Development of plan.--The Director shall develop and annually revise,
   with the approval of the Judicial Conference of the United States, a long range
   plan for meeting the information technology resources needs of the activities
   funded under subsection (a) and shall include an annual estimate of any fees
   that may be collected under section 404 of the Judiciary Appropriations Act,
   1991 (Public Law 101-515; 104 Stat. 2133). Such plan and revisions shall be
   submitted to Congress.
   (2) Expenditures consistent with plan.--The Director may use amounts in
   the Fund to procure information technology resources for the activities funded
   under subsection (a) only in accordance with the plan developed under
   paragraph (1).

(c) Deposits into Fund.--

   (1) Deposits.--There shall be deposited in the Fund--
         (A) all proceeds resulting from activities conducted under subsection (a),
         including net proceeds of disposal of excess or surplus property, all fees
         collected after the date of the enactment of the Judicial Amendments
         Act of 1994 by the judiciary under section 404 of the Judiciary
         Appropriations Act, 1991 (Public Law 101-515; 104 Stat. 2133) and
         receipts from carriers and others for loss of or damage to property;


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          (B) amounts available for activities described in subsection (a) from
          funds appropriated to the judiciary; and
          (C) any advances and reimbursements required by paragraph (2).
   (2) Advances and reimbursements.--Whenever the Director procures
   information technology resources for any entity in the judicial branch other
   than the courts or the Administrative Office, that entity shall advance or
   reimburse the Fund, whichever the Director considers appropriate, for the
   costs of the information technology resources, from appropriations available to
   that entity.

(d) Authorization of appropriations.--There are authorized to be appropriated
to the Fund for any fiscal year such sums as are required to supplement amounts
deposited under subsection (c) in order to conduct activities under subsection (a).

(e) Contract authority.--
    (1) For each fiscal year.--In fiscal year 1990, and in each succeeding fiscal
    year, the Director may enter into contracts for the procurement of information
    technology resources in amounts which, in the aggregate, do not exceed
    amounts estimated to be collected under subsection (c) for that fiscal year in
    advance of the availability of amounts in the Fund for such contracts.
    (2) Multiyear contracts.--In conducting activities under subsection (a), the
    Director is authorized to enter into multiyear contracts for information
    technology resources for periods of not more than five years for any contract,
    if--
           (A) funds are available and adequate for payment of the costs of such
           contract for the first fiscal year and for payment of any costs of
           cancellation or termination of the contract;
           (B) such contract is in accordance with the Director’s authority in
           section 604(g) of 28 U.S.C.; and,
           (C) the Director determines that--
                  (i) the need for the information technology resources being
                  provided will continue over the period of the contract; and
                  (ii) the use of the multi-year contract will yield substantial cost
                  savings when compared with other methods of providing the
                  necessary resources.
    (3) Cancellation costs of multiyear contract.--Any cancellation costs
    incurred with respect to a contract entered into under paragraph (2) shall be
    paid from currently available amounts in the Fund.



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(f) Authority of Administrator of General Services.--Nothing in this section
 shall be construed to limit the authority of the Administrator of General Services
 under sections 501-505 of title 40.

(g) Annual report.--
   (1) In general.--The Director shall submit to the Congress an annual report on
   the operation of the Fund, including on the inventory, use, and acquisition of
   information technology resources from the Fund and the consistency of such
   acquisition with the plan prepared under subsection (b). The report shall set
   forth the amounts deposited into the Fund under subsection (c).
   (2) Additional contents of report.--The annual report submitted under this
   subsection shall include--
          (A) the specific actions taken and the progress made to improve the plan
          developed under subsection (b) and the long range automation plan and
          strategic business plan developed under subsection (k); and
          (B) a comparison of planned Fund expenditures and accomplishments
          with actual Fund expenditures and accomplishments, and the reasons for
          any delays in scheduled systems development, or budget overruns.

(h) Reprogramming.--The Director of the Administrative Office of the United
States Courts, under the supervision of the Judicial Conference of the United
States, may transfer amounts up to $1,000,000 from the Fund into the account to
which the funds were originally appropriated. Any amounts transferred from the
Fund in excess of $1,000,000 in any fiscal year may only be transferred by
following reprogramming procedures in compliance with section 606 of the
Departments of Commerce, Justice, and State, the Judiciary, and Related Agencies
Appropriations Act, 1989 (Public Law 100-459, 102 Stat. 2227).

(i) Appropriations into the Fund.--If the budget request of the judiciary is
appropriated in full, the amount deposited into the Fund during any fiscal year
under the authority of subsection (c)(1)(B) will be the same as the amount of funds
requested by the judiciary for activities described in subsection (a). If an amount to
be deposited is not specified in statute by Congress and if the full request is not
appropriated, the amount to be deposited under subsection (c)(1)(B) will be set by
the spending priorities established by the Judicial Conference.

(j) Long range management and business plans.--The Director of the
 Administrative Office of the United States Court shall--
     (1) develop an overall strategic business plan which would identify the
     judiciary's missions, goals, and objectives;

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(2) develop a long range automation plan based on the strategic business plan
and user needs assessments;
(3) establish effective Administrative Office oversight of court automation
efforts to ensure the effective operation of existing systems and control over
developments of future systems;
(4) expedite efforts to complete the development and implementation of life
cycle management standards;
(5) utilize the standards in developing the next generation of case management
and financial systems; and
(6) assess the current utilization and future user requirements of the data
communications network.




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